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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

UNITED STATES OF AMERICA ,

v.                                                     Criminal Case No. t:18-CR-457 (AJT)

BIJAN RAFIEKIAN, et al.


                                         ORDER

        This matter having come before the Court on Mr. Rafiekian's Motion for Leave to File

Under Seal a reply to the government's response to Mr. Rafiekian's July 5th memorandum

addressing the government's July 3, 2019 ex parte motion pursuant to Local Criminal Rule

49(D) and for good cause shown, the Court finds:

             l . Mr. Rafiekian seeks to file under seal a reply to the government's response to Mr.

     Rafiekian's July 8th memorandum responding to the government's ex parte motion.

            2. Sealing is appropriate when necessary to protect private interests and to ensure

     that court records are not used to promote public scandal. See In re Knight Pub. Co., 743

     F.2d 231, 236 (4th Cir. 1984); Nixon v. Warner Communications, Inc., 435 U.S. 589, 598

     (1978). The Court concludes that the documents at issue meet those standards.

            3. The Court has considered procedures other than sealing, but none would

     sufficiently protect the information subject to sealing.

            4. The Court has inherent power to seal materials. See In re Knight Pub. Co., 743

     F.2d at 235; Am. Civil liberties Union v. Holder, 673 F.3d 245, 255-56 (4th Cir. 2011).

            5. Mr. Rafiekian seeks to have the material filed under seal pursuant to this Order

     until further order of the Court.

        NOW THEREFORE,
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      ORDERED that the Motion is GRANTED; and it is further

      ORDERED that the documents shall remain sealed until further order of the Court.

      SO ORDERED.




                                                        Anthony J. Trer:ga
      Dated: � � 2-019                                  United States Dis

                                                        The Honorable Anthony J. Trenga
                                                        United States District Judge




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